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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


UNITED STATES OF AMERICA                          §
                                                  §
v.                                                §            No. 3:09-CR-210-B
                                                  §
JESSE WILLIAM MCGRAW (1)                          §
also known as Ghost Exodus                        §

                                       FACTUAL RESUME

         Jesse William McGraw, John Nicholson, the defendant’s attorney, and the United

States of America (the government), agree that the following accurately states the

elements of the offense and the facts relevant to the offense to which the defendant is

pleading guilty:

Elements:

1.       In order for the defendant to be convicted at trial of a violation of 18 U.S.C.

§1030(a)(5)(A) and §1030(c)(4)(B)(i)(II) (and in Count Two §1030(c)(4)(B)(i)(IV)), the

United States would have to prove each of the following elements of the offense beyond a

reasonable doubt:

First:          That McGraw, through means of a computer used in interstate commerce or
                communications, knowingly caused the transmission of a program,
                information, code, or command to another computer or computer system, as
                charged;




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Second:        That McGraw, by causing the transmission intended to damage the
               receiving computer, computer system, information, data or program, and
               withhold or deny, or cause the withholding or denial, of the use of a
               computer, computer services, system, or network, information, data or
               program;

Third:         That McGraw so acted without the authorization of the persons or entities
               who own or are responsible for the computer system receiving the program,
               information, code, or command; and

Fourth:        That McGraw’s acts potentially modified or impaired, the medical
               examination, medical diagnosis, medical treatment, or medical care of one
               or more individuals; and

for Count Two
Fifth:      That McGraw’s acts potentially created a risk to public health and safety.


Facts:

1.       From October 30, 2008, until June 26, 2009, McGraw was employed as a security

guard for United Protection Services, a security firm in Dallas, Texas. From November 1,

2008, until June 26, 2009, McGraw was assigned by United Protection Services to work

security at the North Central Medical Plaza, located at 9301 North Central Expressway,

Dallas, Texas. The North Central Medical Plaza housed medical offices and surgery

centers, to include the W.B. Carrell Memorial Clinic1 and the North Central Surgery




         1
                 The W. B. Carrell Memorial Clinic provides comprehensive orthopaedic care by board
certified orthopaedic surgeons and staff.

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Center 2 . Generally, McGraw’s shift was Thursday through Tuesday, from 23:00 3 until

07:00. McGraw’s assignment constituted a position of trust.

2.      The following computers (or computer systems) were located within the North

Central Medical Plaza, and constituted protected computers pursuant to 18 U.S.C.

§1030(e)(2), in that they were used in or affecting interstate commerce or

communications.

        a. The Nurses Station E computer had the host name WBCCW125 and was

        located on the 5th floor of the North Central Medical Plaza. The computer was

        used to track a patients progress through the W.B. Carrell Memorial Clinic.

        Medical staff also used the computer to reference a patient's personal identifiers,

        billing records, and medical history.

        b. The HVAC computer was located in a locked room of the North Central

        Medical Plaza and was used by the building engineering staff. The HVAC

        computer was used to control the Heating Ventilation and Air Conditioning for the

        first and second floors used by the North Central Surgery Center.

3.      McGraw gained physical access to approximately 14 computers located in the

North Central Medical Plaza, including the two identified above. McGraw installed

(transmitted) “Logmein,” an application program that allows remote access to those

        2
                  The NCSC provides state-of-the-art equipment for surgeons to perform procedures in the
speciality areas of General Surgery; Gastroenterology (GI); Gynecology; Ophthalmology; Orthopedic; Pain
Management; Plastic Surgery; Podiatry; Ear, Nose and Throat; Bariatric; Spine; and Urology.
        3
                All time will be referenced in military time.

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computers. The Logmein installation bypassed existing security protocols put in place by

the owners and compromised the integrity of these computer systems and the associated

network by allowing remote access by unauthorized individuals. McGraw also impaired

the integrity of the computer systems by removing security features, e.g. uninstalling anti-

virus programs, which made the computer systems and related network more vulnerable

to attacks. McGraw also installed a malicious code and program, sometime called a

"bot", which was used to remotely access and control the compromised computer. "Bots"

are usually associated with theft of data from the compromised computer, using the

compromised computer in denial of service attacks, and using the compromised computer

in sending SPAM. McGraw installed the "bot" known as "RxBot" on the compromised

computers and controlled the compromised computers from websites under his control,

specifically eta.myvnc.com and eta2.myvnc.com.

4.      McGraw intended to impair the integrity of the accessability of the computers and

computer systems, by turning off the security protocols, and by creating a means by which

he could remotely access the computers and computer systems. Therefore, by installing

(transmitting) the Logmein program and the RxBot program, McGraw damaged and

intended to damage the computers or computer systems as defined by 18 U.S.C.

§1030(e)(8).

5.      McGraw knew that these actions would damage the security and integrity of these

systems. McGraw advocated taking these kinds of actions in order to adversely affect the

integrity of systems and avoid detection, in instructions that he posted online for members


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of his “Electronik Tribulation Army” (ETA) and other individuals interested in

committing fraud against computers.

6.      On or about February 12, 2009, McGraw abused the trust placed in him as a

security guard and bypassed the physical security to the room in the North Central

Medical Plaza containing the HVAC computer. At approximately 23:35, McGraw

without authorization began the download (transmission) of

"Ophcrack-vista-livecd-2.1.0.iso," a malicious password cracking tool from the website

sourceforge.net. McGraw then downloaded and installed (transmitted) without

authorization Team Viewer 4, a remote access program. McGraw then circumvented the

security software McAfee and added Teamviewer to the list of allowed programs in

McAfee. By February 13, 2009, at approximately 01:19 McGraw again without

authorization physically accessed the HVAC computer and inserted a removeable storage

device named "HARD DISK X" and executed the program daemon4301-lite.exe which

allowed McGraw to emulate a CD/DVD device with the removeable storage device.

McGraw used "Sonic Record Now," a CD/DVD burning software, to create a bootable

CD image using a previously downloaded "OphCrack-xp-livecd.iso".

7.      On or about April 28, 2009, at about 01:47, McGraw abused the trust placed in

him as a security guard and accessed without authorization the Nurses Station E

computer. McGraw inserted into the computer a CD containing the OphCrack program to

bypass any passwords or security, disengaged the McAfee VirusScan Enterprise program



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which turned off the existing security features making it more vulnerable to attack, and

installed (transmitted) RxBot, the malicious code or program.

8.      On or about April 7, 2009, at approximately 02:30, McGraw abused the trust

placed in him as a security guard and bypassed the physical security to the room in the

North Central Medical Plaza containing the HVAC computer. At approximately 03:12,

McGraw installed (transmitted) Logmein to the HVAC computer.

9.      On or about the following dates, McGraw remotely accessed without authorization

the HVAC computer:


                  DATE              TIME              DURATION

                  04/13/09          07:21             5m:43s

                  04/13/09          07:24             2m:37s

                  04/13/09          20:09             55m:31s

                  04/14/09          06:50             2m:38s

                  04/14/09          06:56             14m:15s



10.     On April 13, 2009 4 , McGraw without authorization remotely accessed the HVAC

computer using the password "pred818" and downloaded and installed (transmitted) the

malicious program "Cain & Abel v4.9.29", a key stroke logger and network traffic sniffer.

A keystroke logger is a program that covertly records and captures all keystrokes. A

network traffic sniffer is a program that covertly intercepts and logs traffic passing over a


        4
                 This April 13, 2009 remote access may or may not be the same as noted in paragraph 9. As
of the time of the drafting of the Factual Resume, the FBI could not determine a time

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digital network or part of a network. On April 13, 2009, McGraw used the "Cain"

software to access the HVAC computer's Local Security Authority also known as "LSA

secrets." The HVAC computer’s LSA stored the cached user authentications.

11.    McGraw was not authorized, and knew that he was not authorized, to physically or

remotely access any of these computers or computer systems located within the North

Central Medical Plaza. McGraw was not authorized, and knew that he was not

authorized, to transmit any programs, codes, or command to these computers or computer

systems.

12.    McGraw was aware that some of the computers he compromised, such as the

Nurses Station E computer, were used to access and review medical records. By gaining

administrator access to these computers, McGraw had the ability to modify these records.

13.    McGraw was aware that the HVAC computers were used to maintain the

environmental controls in the facility. He knew that by modifying these controls he could

affect the temperature of the facility. By affecting the environmental controls of the

facility, he could have affected the treatment and recovery of patients who were

vulnerable to changes in the environment. In addition, he could have affected treatment

regimes, including the efficacy of any or all of the temperature sensitive drugs.




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14.    McGraw understands that the cost to remediate the compromised computers and

computer systems with the North Central Medical Plaza exceeded $30,000, but was less

than $70,000.


                                           JAMES T. JACKS
                                           UNITED STATES ATTORNEY


                                           ________________________         ________
                                           CANDINA S. HEATH                 Date
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       I have read (or had read to me) this Factual Resume and have carefully reviewed
every part of it with my attorney. I fully understand it and I swear that the facts contained
herein are true and correct.

__________________________                 _____________________________
JESSE WILLIAM MCGRAW                       Date
Defendant

       I am the defendant’s counsel. I have carefully reviewed every part of this Factual
Resume with the defendant. To my knowledge and belief, my client’s decision execute
this Factual Resume is an informed and voluntary one.


_________________________                  ______________________________
JOHN NICHOLSON                             Date
Attorney for Defendant




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